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November 5, 2024

E-Filed

The Honorable Judge Vince Chhabria
450 Golden Gate Avenue
17th Floor, Courtroom 4
San Francisco, CA 94102

Dear Judge Chhabria,

       Pursuant to the Court’s November 4, 2024 order (Dkt. 253), to extend the deadline to
present disputes regarding “existing written discovery” to November 8, 2024, Plaintiffs will pay
Meta’s reasonable attorneys’ fees incurred in responding to their administrative motion (Dkt.
244).

                                                            Sincerely,

                                                            /s/ Maxwell V. Pritt
                                                                Maxwell V. Pritt
